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 8                                 UNITED STATES DISTRICT COURT
 9                                CENTRAL DISTRICT OF CALIFORNIA
10
11   SHANE LOVE,                                     No. CV 20-06557 PA (SPx)

12                   Plaintiff,                      JUDGMENT
            v.
13
     PASADENA POLICE OFFICERS:
14   AARON VILLICANA, et al.,

15                   Defendants.

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18          In accordance with the Court’s August 27, 2020 Order granting the Motion to

19   Dismiss filed by defendants the City of Pasadena, Chief John Perez, former Chief Phillip

20   Sanchez, and Officers Aaron Villicana, Robert Griffith, Michael Orosco, Thomas Butler, Phillip

21   Poirier, and Raphael Santiago (“Defendants”),

22          IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that:

23          1.       Plaintiff Shane Love shall take nothing and the action is dismissed with

24   prejudice; and

25          2.       Defendants shall have their costs of suit pursuant to Federal Rule of Civil

26   Procedure 54.

27   DATED: August 27, 2020                              __________________________________
                                                                    Percy Anderson
28                                                             United States District Judge
